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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:01CR29-3
                                                   §
 JERRY WAYNE ANDREWS                               §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on June 16, 2011 to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by

 Miriam Rea.

        On September 28, 2001, Defendant was sentenced by the Honorable Michael H. Schneider,

 United States District Judge, to a sentence of 46 months imprisonment followed by a 3-year term of

 supervised release, for the offense of distribution of cocaine base (crack). Defendant began his term

 of supervision on July 15, 2008.

        On June 9, 2011, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 392). The Petition asserts that Defendant violated

 the following conditions of supervision: (1) Defendant shall refrain from any unlawful use of a

 controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; and (3) Defendant shall participate




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 in a program of testing and treatment for drug abuse, as directed by the probation officer, until such

 time as Defendant is released from the program by the probation officer.

        The Petition alleges that Defendant committed the following violations: (1) On April 6,

 April 11, and May 25, 2011, Defendant submitted a urine specimen that tested positive for cocaine.

 Defendant admitted to said use. On March 28, 2011, Defendant submitted a urine specimen that

 tested positive for cocaine and marijuana. Defendant admitted to said use; and (2) On June 6, 2011,

 Defendant failed to submit a urine specimen as instructed for testing at Wilson N. Jones as part of

 the random drug testing program. On March 2, 2009, Defendant was instructed to call a notification

 line every day as part of the U.S. Probation Office’s random drug testing program. Defendant has

 failed to call the notification line since June 1, 2011, and has ceased participating in the random drug

 testing program. On June 2, 2011, Defendant failed to attend his scheduled substance abuse

 counseling session with Pillar Counseling as instructed.

        At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                       RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

 presented at the June 16, 2011 hearing, the Court recommends that Defendant be committed to the




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     custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months, with no supervised

     release to follow. The Court further recommends that Defendant’s term of imprisonment be carried

     out in the Bureau of Prisons facilities located in Seagoville, Texas, if appropriate.
           SIGNED this 7th day of July, 2011.

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                                                    ____________________________________
                                                    DON D. BUSH
                                                    UNITED STATES MAGISTRATE JUDGE




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